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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 LEROY WASHINGTON, on his           )
 own Behalf and On Behalf of a      )
 Class of Those Similarly Situated, )
                                    )
         Plaintiffs,                )
                                    )
 v.                                 )          Cause #: 1:16-cv-02980-JMS-DML
                                    )
 THE MARION COUNTY                  )
 PROSECUTOR, in his                 )
 Official Capacity,                 )
 et al.,                            )
                                    )
         Defendants.                )

                   JOINT STATEMENT OF POSITION ON REMAND

       Plaintiffs, Leroy Washington, on his own behalf and on behalf of a class of

 those similarly situated, and Defendants, the Marion County Prosecutor, the Mayor

 of the Consolidated City of Indianapolis, and the Chief of Police of the Indianapolis

 Metropolitan Police Department, by their respective counsel, in accordance with

 Southern District of Indiana local rule 16-2, submit this joint statement of their

 position regarding further proceedings on remand.

       In February 2017, Defendants moved to dismiss and Plaintiff moved for

 summary judgment. Later, in August 2017, this Court certified a class and granted

 Plaintiff’s motion for summary judgment, declaring Ind. Code § 34-24-1-1(a)(1)

 unconstitutional as violating the due process clause.

       Following this Court’s entry of summary judgment, the Marion County

 Prosecutor appealed to the Seventh Circuit. During the pendency of the appeal,
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 Indiana amended its vehicular forfeiture statute. On February 26, 2019, the

 Seventh Circuit remanded this matter to allow this Court to address whether the

 amendments ameliorate the constitutional problems identified by this Court, and

 also, if necessary, determine whether the class should be decertified or redefined.

       On remand, the Seventh Circuit directed the parties to address whether the

 statutory amendment rendered Plaintiff’s complaint moot, and whether the class

 should be decertified or redefined. The parties believe it would be appropriate to

 brief the issues for the court. The parties defer to the Court as to whether oral

 argument on these issues would help the Court.




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 Respectfully submitted,

  Jeff Cardella, Atty. No. 27051-49           Curtis T. Hill, Jr., Atty. No. 13999-20
         (Consents to filing, pursuant to      Attorney General
  Local Rule 5-7)                             Zachary D. Price, Atty. No. 31469-53
  THE LAW OFFICE OF JEFF CARDELLA,            Bryan Findley, Atty. No. 34447-30
  LLC                                         Rebecca L. McClain, Atty. No. 34111-49
  333 N. Alabama St., #357                     Deputy Attorneys General
  Indianapolis, IN 46204                      OFFICE OF THE INDIANA ATTORNEY
  Telephone: (317) 695-7700                   GENERAL
  Facsimile: (317) 454-1334                   302 West Washington Street
  jeffcardella@cardellalawoffice.com          Indiana Government Center South,
                                              Fifth Floor
  Counsel for Plaintiffs                      Indianapolis, IN 46204
                                              Telephone: (317) 232-0486
                                              Facsimile: (317) 232-7979
  Adam S. Willfond, Atty. No. 31565-49        zachary.price@atg.in.gov
        (Consents to filing, pursuant to      bryan.findley@atg.in.gov
  Local Rule 5-7)                             rebecca.mcclain@atg.in.gov
  OFFICE OF CORPORATION COUNSEL
  200 E. Washington St., #1601                    Counsel for Defendant, the Marion
  Indianapolis, IN 46204                          County Prosecutor
  Telephone: (317) 327-4055
  Facsimile: (317) 327-3968

  Counsel for Defendants, the Mayor of
  the Consolidated City of Indianapolis
  and the Chief of Police of the
  Indianapolis Metropolitan Police
  Department




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